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                                UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION

HINES INTERESTS LIMITED
PARTNERSHIP, URBAN OAKS
BUILDERS, LLC, 1662 MULTIFAMILY
LLC, HINES 1662 MULTIFAMILY,
LLC, HINES INVESTMENT
MANAGEMENT HOLDINGS LIMITED
PARTNERSHIP, HIMH GP, LLC,
HINES REAL ESTATE HOLDINGS
LIMITED PARTNERSHIP and JCH
INVESTMENTS, INC.,

                           Plaintiffs,

v.                                                                     Case No: 6:18-cv-1147-Orl-22DCI

SOUTHSTAR CAPITAL GROUP I,
LLC, COTTINGTON ROAD TIC, LLC,
DURBAN ROAD TIC, LLC, COLLIS
ROOFING, INC., DA PAU
ENTERPRISES, INC., FLORIDA
CONSTRUCTION SERVICES, INC.,
STRUCTURAL CONTRACTORS
SOUTH, INC., NAVIGATORS
SPECIALTY INSURANCE COMPANY,
GEMINI INSURANCE COMPANY and
IRONSHORE SPECIALTY
INSURANCE COMPANY,

                           Defendants.


                                                     ORDER

         This cause comes before the Court on Plaintiffs’ Response to the Order to Show Cause

(Doc. 60), and the Response of the removing party, Gemini Insurance, to the Order to Show Cause

and Gemini’s request (within the body of the Response 1 ) for a sixty-day period to conduct




         1
         “Under Local Rule 3.01(a), requests for relief must be made in the form of a motion and not buried in a
response” to an order or opposing party’s motion.” Estate of Miller ex rel. Miller v. Toyota Motor Corp., No. 6:07-
cv-1358-ORL-19DAB, 2008 WL 516725, at *6 n.8 (M.D. Fla. Feb. 22, 2008) (citation omitted).
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jurisdictional discovery to “determine the identity and citizenship of the unknown partners and

members.” (Doc. 62).

         Magistrate Judge Irick entered an Order to Show Cause (Doc. 53) which identified several

issues with the citizenship allegations alleged by Gemini Insurance in the Notice of Removal;

subject matter jurisdiction to support removal to this Court was based on 28 U.S.C. §1332,

diversity of citizenship. “Complete diversity is an absolute requirement for a federal court to have

jurisdiction under 28 U.S.C. § 1332.” Hedge Capital Inv. Ltd. v. Sustainable Growth Grp.

Holdings LLC, 593 F. App’x 937, 940 (11th Cir. 2014).2 In removing the case from state court,

Gemini Insurance asserted that there was complete diversity between Defendants and Plaintiffs

because all of the Plaintiffs are citizens of Texas (Doc. 1 at ¶ 47), and all of the defendants are

“citizens of Arizona, Connecticut, Delaware, Florida, and New York.” Doc. 1 at ¶ 48. The Order

to Show Cause (Doc. 53) required Gemini Insurance to properly plead the citizenship of several

of the Plaintiffs and certain Defendants who are limited liability companies or limited partnerships

and confirm conflicting information about the citizenship of the Defendant Insurers. (See id. at 3-

4). Magistrate Judge Irick also required Plaintiffs to file amended certificates of interested persons

identifying “all members of any LLC including their citizenship” and “all other identifiable legal

entities related to any party in the case,” which would apply to the limited partnerships. (See Doc.

18 at 2, 7).

         Plaintiffs, the Hines Entities, did not file the amended certificates of interested persons, but

instead filed a Response to the Order to Show Cause representing that “diversity jurisdiction does

not exist” because members of the Hines Entities include citizens of Arizona, “which defeats

diversity jurisdiction.” (Doc. 60 at 2). Plaintiffs’ Response states:




         2
          Unpublished opinions of the Eleventh Circuit constitute persuasive, and not binding, authority. See 11th
Cir. R. 36-2 and I.O.P. 6.
                                                        -2-
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          As noted in the attached affidavit, . . . multiple investor members of 1662
          Multifamily LLC are citizens of Arizona. Id., ¶ 6. As noted, the Complaint states
          that Ironshore is an Arizona corporation. [Doc. 2], ¶ 17. Ironshore admitted it is an
          Arizona corporation, and thus is a citizen of Arizona. [Doc. 33], p. 3, ¶17
          (“Admitted for jurisdictional purposes only.”) As such, various members of the
          Hines Entities defeat diversity jurisdiction.

(Doc. 60 at 2-3). Plaintiffs have submitted the Affidavit of Richard Heaton, Vice President-

Legal/Assistant Secretary of JCH Investments, Inc. in support of their representations. Mr. Heaton

states that “[s]ome investor members of 1662 Multifamily LLC are citizens of Arizona.” (Doc. 60-

1 ¶ 6).

          Although Plaintiffs also contend in their Response to the Order to Show Cause that the

citizenship of HIMH GP LLC—the managing general partner of Hines Investment Management

Holdings Limited Partnership—would destroy diversity because HIMH GP LLC is a “citizen” of

Delaware based on where the LLC was organized, the LLC’s state of organization does not

determine the citizenship of an LLC. As explained in the Order to Show Cause, an unincorporated

business entity, such as a limited liability company, is a citizen of every state in which each of its

individual members are citizens and a limited partnership is deemed a citizen “of each state in

which any of its partners, limited or general, are citizens.” See, e.g., Rolling Greens MHP, L.P. v.

Comcast SCH Holdings LLC, 374 F.3d 1020, 1021-22 (11th Cir. 2004).

          As an alternative to providing the identities and citizenships of the members of the LLCs

and limited partnerships, Plaintiffs request that if the Court requires this additional evidence to

assess whether diversity citizenship exists, the Court grant an extension of time and leave to

provide the information in camera for the Court’s review “given the confidential nature of its

investors from the public record.” (Id.).

          Gemini Insurance states that it has obtained some publicly available information regarding

the partners and members of the Plaintiffs, but it needs additional jurisdictional discovery to

determine the identity and citizenship of the unknown partners and members because the
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information is not publicly available and Plaintiffs’ counsel would not provide it because it is

confidential. Gemini Insurance further argues that Plaintiffs’ Response to the Order to Show Cause

is too cursory, incomplete and the lack of full disclosure impedes Gemini’s ability to respond to

the factual dispute over diversity jurisdiction. Thus, Gemini Insurance requests sixty days of

jurisdictional discovery to serve interrogatories and requests for production on Plaintiffs.3

         Gemini Insurance, the removing party who has the burden of proving subject matter

jurisdiction exists, filed its Response to the Order to Show Cause (Doc. 62) stating that certain of

the Plaintiff limited partnership entities had the citizenship of the “sole general partner,” even

though—as explained in the Order to Show Cause—the Court is required to consider the

citizenship of all the general partners and all the limited partners for a limited partnership. For

example, Gemini Insurance continues to list only the citizenship of HIMH GP, LLC as the “sole

general partner” of Hines Investment Management Holdings Limited Partnership and JCH

Investments, Inc. as the “sole general partner” of Hines Real Estate Holdings Limited Partnership.

Gemini fails to recognize the existence of or the listing the citizenship of any of the limited

partners. Any limited partnership may have one “sole” general partner, but it must also have limited

partners, none of whom are listed in the Response or on the official documents supplied as exhibits.

(See id. at 2-3).

         Viewing the parties’ Responses to the Order to Show Cause side-by-side, it is not clear

whether the parties require the extensive “jurisdictional discovery” Gemini Insurance seeks, or

another sixty days to determine if diversity is destroyed. If the “investor members” of Plaintiff

1662 Multifamily LLC 4 to whom Mr. Heaton refers in his affidavit are individuals or


         3
            Plaintiff Urban Oaks Builders, LLC, filed a Chapter 11 petition in the Bankruptcy Court for the Southern
District of Texas, Houston Division on August 31, 2018, and filed a Motion to Transfer Venue to that court on
September 4, 2018. (Docs. 46, 47). Until the Court determines whether it has subject matter jurisdiction, it cannot
decide the transfer issue, and it would prefer to decide the diversity question as expeditiously as possible without an
extension of time for jurisdictional discovery.
          4
            In a related case, 1662 Multifamily LLC represented that it “has approximately 170 investor limited
                                                         -4-
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corporations 5 are citizens of Arizona, given that Defendant Ironshore Specialty Insurance

Company is also a citizen of Arizona, there would not be complete diversity of citizenship to

support the Court’s subject matter jurisdiction. The Court would then lack subject matter

jurisdiction under § 1332, and the case would have to be remanded. See Bldg. Materials Corp. of

Am. v. Henkel Corp., No. 6:15-CV-548-ORL-22GJK, 2017 WL 4082440, at *2 (M.D. Fla. Apr.

17, 2017) (remanding case to state court from which it was removed because once the corporate

defendant corrected the citizenship allegations, it conceded that parties on both sides were citizens

of the same state, and complete diversity had not existed when the case was removed), appeal

dismissed as moot, 2017 WL 5997406 (11th Cir. Aug. 23, 2017).

         Based on the foregoing, it is ordered as follows:

             1. The Clerk is DIRECTED to add to the docket entry for Gemini Insurance’s

                  Response to the Order to Show Cause in Doc. 60 a “Motion” for jurisdictional

                  discovery and extension of time.

             2. Gemini Insurance’s Motion for jurisdictional discovery and extension of time to

                  respond to the Order to Show Cause (Doc. 60) is referred to the Magistrate Judge

                  for hearing and ruling or, if necessary, issuance of a Report and Recommendation.




liability company members” but did not identify them or their citizenship, filing instead a motion to provide the
information in camera. Southstar Capital Group I, LLC v. 1662 Multifamily LLC, Case No. 6:18-cv-1453-Orl-
22DCI (Doc. 40; September 25, 2018).
           5
             “[U]nderstand that until you have drilled down to a real person or incorporated entity and alleged their
citizenship, you have not arrived.” Everest National Ins. Co. v. Amateur Athletic Union of the United States, No. 6:17-
cv-551-Orl-37GJK, slip op. at 3 (M.D. Fla. Aug. 1, 2017) (Dalton, J.).
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       DONE and ORDERED in Chambers, in Orlando, Florida on October 1, 2018.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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